Case 2:15-cv-01870-JRG-RSP Document 6 Filed 04/21/16 Page 1 of 1 PageID #: 75




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §            Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §            LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIOSN, LLC          §
.                                   §
      Plaintiff,                    §            Case No: 2:15-cv-01870-JRG-RSP
                                    §
vs.                                 §            CONSOLIDATED CASE
                                    §
PNY TECHNOLOGIES, INC.              §
                                    §
      Defendant.                    §
___________________________________ §

                                         ORDER

       On this day the Court considered the Unopposed Motion to Dismiss PNY Technologies,
Inc. It is therefore ORDERED that all claims by and between parties are hereby DISMISSED
      SIGNED thiswith
WITH PREJUDICE,   3rdeach
                      day of January,
                          party to bear 2012.
                                        its own costs, expenses and attorneys’ fees.
       SIGNED this 20th day of April, 2016.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE
